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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                 :
                                         :      Case No. 21-cr-638 (TJK)
             v.                          :
                                         :
GILBERT FONTICOBA,                       :
                                         :
                    Defendant.           :

                     NOTICE OF SUBSTITUTION OF COUNSEL

      The undersigned, on behalf of the United States of America, hereby provides notice of

substitution of counsel. Trial Attorney Ashley Akers should replace AUSA Nadia Moore as

counsel on the case, and AUSA Moore should be removed from the case.


                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY
                                                D.C. Bar No. 481052

                                         By:    /s/ Ashley Akers
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